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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

WORCESTER, ss.
                                              )
 In re:                                       )       Chapter 7
                                              )       Case No. 23-40709-CJP
 WESTBOROUGH SPE LLC,                         )
                                              )
                               Debtor.        )
                                              )

 SUPPLEMENT TO MOTION TO COMPEL INITIAL DISCLOSURES PURSUANT TO RULE
               26(a)(1) AND REQUEST FOR EXPEDITED RELIEF

Creditor Lolonyon Akouete (the “Movant”) respectfully supplements his Motion to Compel Initial
Disclosures Pursuant to Rule 26(a)(1) (“Motion to Compel”) and, in light of the urgency to assess
whether summary judgment is appropriate, requests expedited consideration by the Court. In
support of this Supplement, Movant states as follows:

BACKGROUND

   1. Movant filed the Motion to Compel on December 17, 2024, requesting that the Chapter 7
      Trustee, Jonathan R. Goldsmith (“Trustee”), provide the Initial Disclosures mandated by
      Federal Rule of Civil Procedure 26(a)(1), as incorporated by Federal Rule of Bankruptcy
      Procedure 7026.
   2. The Motion to Compel outlined the Trustee’s obligations under Rule 26(a)(1), which
      require timely disclosure of basic information to facilitate efficient discovery and eliminate
      unnecessary delays. Despite the commencement of discovery on November 20, 2024, and
      Movant’s good-faith request on December 9, 2024, the Trustee has yet to comply.
   3. The absence of Initial Disclosures impedes Movant’s ability to determine whether a
      summary judgment motion is appropriate, given that essential information regarding the
      Trustee’s claims and defenses remains unavailable.

NEED FOR EXPEDITED RELIEF

   4. Federal Rule of Bankruptcy Procedure 9006(c) permits the Court to reduce time periods for
      cause shown. Here, expedited relief is warranted due to the time-sensitive nature of the
      discovery process and Movant’s need to make an informed determination regarding the
      pursuit of summary judgment.
   5. The Trustee’s continued failure to provide Initial Disclosures unjustly prolongs the
      discovery period and prejudices Movant by obstructing his ability to evaluate critical
      evidence. This prejudice is further exacerbated by the 90-day discovery period approved by
      the Court on November 20, 2024, which is already underway.
   6. Movant continues to suffer irreparable harm because of the delay in adjudicating his claim.
      Movant currently has only $9.51 in his account while caring for his displaced stepmother,
      who has been living in an Airbnb for the past three months and must move out by the end of
      this month. The Trustee’s position is prejudicial and not based on factual information. The
      Trustee has expressed his intent to oppose Movant’s claim for almost a year, and by now,
      he should have the information necessary to substantiate or withdraw his opposition.
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      Movant believes the Trustee’s opposition to his claim is born out of a personal agenda,
      causing significant distress to Movant as a creditor.
   7. Expedited consideration of this Motion will ensure that the Trustee fulfills his obligations
      without further delay, enabling all parties to proceed efficiently in the discovery process
      and avoid unnecessary litigation costs.

RELIEF REQUESTED

WHEREFORE, Creditor Lolonyon Akouete respectfully requests that the Court:

   1. Grant expedited consideration of the Motion to Compel and schedule a hearing at the
      earliest practicable date;
   2. Order the Trustee to provide the Initial Disclosures required under Rule 26(a)(1) within
      three (3) days of the Court’s order;
   3. Specify that the Initial Disclosures must include:
      a. The names, addresses, and telephone numbers of individuals likely to have discoverable
      information, along with the subjects of that information;
      b. A copy or description of all documents, electronically stored information (ESI), or
      tangible things in the Trustee’s possession, custody, or control that may be used to support
      his objection to Amended Claim No. 4-3; and
      c. A computation of any damages or amounts relevant to the objection, along with
      supporting documentation;
   4. Grant such other relief as the Court deems just and proper.

DATED: December 20, 2024, Respectfully submitted:

                                                     By creditor,




                                                     Lolonyon Akouete
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                                   CERTIFICATE OF SERVICE

I, Lolonyon Akouete, hereby certify that the above document is served by email and mailing a copy of
the same, first-class mail, to the following:

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